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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION


 Thomas Sierra,                               No. 18 C 3029

          Plaintiff,                          Hon. John Z. Lee,
                                              District Judge
 v.
                                              Hon. M. David Weisman,
 Reynaldo Guevara et al.,                     Magistrate Judge

          Defendants.


                  Plaintiff’s Supplement to Rule 72 Objections
              Regarding Documents Related to the Klipfel Litigation

         Plaintiff Thomas Sierra, through his undersigned counsel, respectfully

submits the following citation of supplemental evidence in support of his Rule 72

Objections to Order Denying Plaintiff’s Motion to Compel Production of Documents

Relating to the Klipfel Lawsuit (dkt. 234). In support, Plaintiff states as follows:

         1.     On January 29, 2021, Plaintiff filed his Rule 72 objections to the

Magistrate Judge’s order denying his motion to compel the production of documents

from the case of Klipfel v. Bentsen, No. 94 C 6415 (N.D. Ill.).

         2.     Since Plaintiff filed his Rule 72 objections, discovery in this and other

pending cases against Detective Guevara has continued to reveal information

establishing the connection between Guevara and Joseph Miedzianowski, as well as

information demonstrating that discovery into Miedzianowski’s misconduct is

directly relevant to Plaintiff’s Monell claims that the Chicago Police Department

failed to adequately train, supervise, or discipline its officers engaged in relevant

forms of misconduct at the time that Plaintiff was framed for murder.
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      3.     Plaintiff therefore respectfully submits this citation of evidence to

apprise the Court of this additional information further confirming the relevance of

Plaintiff’s discovery requests into the Klipfel case.

                            Deposition of Jose Maysonet

      4.     On April 16, 2021, Jose Juan Maysonet, the plaintiff in Maysonet v.

Guevara, 18 C 2342 (N.D. Ill.) sat for a deposition. The transcript of that deposition

is attached as Exhibit 1.

      5.     Mr. Maysonet testified that when he was a teenager, Guevara and

Miedzianowski came to his home together to look for illegal drugs. Ex. 1 at 137:7-17;

143:22-145:3.

      6.     A few weeks or months later, Mr. Maysonet encountered Guevara and

Miedzianowski together in a neighborhood restaurant. Id. at 152:23-153:22. Guevara

and Miedzianowski were back in the kitchen talking, drinking, and snorting cocaine.

Id. at 155:1-14.

      7.     At that time, in Miedzianowski’s presence, Guevara and Maysonet

struck up a deal for Maysonet to make protection payments to Guevara. Id. at 156:1-

158:5; 158:13-159:3.

      8.     Maysonet, a member of the Latin Kings street gang, became “good

buddies” with Guevara through their protection agreement. Id. at 158:13-159:11;

161:3-7; 178:10-25.




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       9.     Maysonet testified that Miedzianowski was “always present,” id. at

205:2-6, though they did not speak, as Maysonet was a monolingual Spanish-speaker

at the time, id. at 137:15-138:9.

       10.    On a later occasion, Guevara and Miedzianowski were driving together

when Guevara pulled over Maysonet and they discussed the details of the protection

agreement. Id. at 164:15-166:3; 168:15-17.

       11.    Maysonet stopped paying Guevara for protection when Guevara

arrested Maysonet’s friend, who took his own life soon thereafter. Id. at 175:4-18;

180:18-181:19.

       12.    Several months later, Maysonet was arrested in connection with an

attempted murder. Id. at 212:6-9. While Maysonet was at Area 5, Detective Guevara

began interrogating him about a different homicide. Id. at 280:15-281:15. Guevara

began yelling at Maysonet, slapping him, and hitting him on the head and the body

with a Yellow Pages directory and a flashlight while Maysonet was handcuffed to a

wall. Id. at 281:16-286:19. Succumbing to Guevara’s repeated physical abuse,

Maysonet eventually broke down agreed to confess to the homicide to stop the

beatings. Id. at 295:17-297:9.

       13.    As a result, Maysonet was convicted of murder and sentenced to natural

life in prison. Id. at 357:14-19.

                            Deposition of William Dorsch

       14.    On June 11, 2021, former Chicago Police Detective William Dorsch gave

a deposition in the consolidated cases of Reyes v. Guevara, No. 18 C 1028 (N.D. Ill.),




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and Solache v. Guevara, No. 18 C 2312 (N.D. Ill.). The transcript of that deposition is

attached as Exhibit 2.

       15.    Mr. Dorsch testified regarding an incident that occurred in 1989 or 1990

involving Defendant Guevara, who at the time was still a gang crimes officer before

his promotion to detective. Ex. 2 at 85:11-86:6.

       16.    Dorsch stated that during the course of a homicide investigation,

Guevara brought two juvenile witnesses to the station, accompanied by an older

Hispanic man. Id. at 92:20-93:5; 112:13-113:7.

       17.    The police obtained a photograph of a suspect based on a lead developed

by Guevara, id. at 116:8-117:4, which Dorsch used to conduct a photo array procedure

with one of the juvenile witnesses, id. at 117:7-15; 120:4-16. Guevara was present in

the room during the photo array. Id. at 120:17-24.

       18.    While the juvenile was looking over the photos but before he had made

any identification, Guevara intervened and told the juvenile which photograph to

pick. Id. at 121:1-5.

       19.    In the following days, Dorsch and his partner sought out the two

juveniles again and learned that they had been paid by the police to make

identifications. Id. at 136:1-16; 137:7-21. Dorsch brought the juveniles to the State’s

Attorneys handling the case, who dismissed the charges against the suspect. Id. at

137:22-138:4; 142:15-143:3.

       20.    Dorsch later learned that the older Hispanic man who came to the

station with the juveniles was named Sam Perez. 94:18-22.




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      21.       Recently, Perez told Dorsch that he (Perez) was present when the

juvenile witnesses were paid by the police to make an identification. Id. at 136:14-22.

Perez stated that the officer who paid the juveniles was Officer Miedzianowski. Id. at

106:18-24 (“I was there when Medzianowski paid him.”). Guevara and Gawrys were

also present when the juveniles were paid. Id. at 93:6-10 (“He told me he was there

with Guevara, Miedzianowski, Galligan, and Gawrys when they paid the witnesses

to make the identification.”).

      22.       Specifically, Perez told Dorsch that Officer Miedzianowski had

approached Perez about finding witnesses who could “put a case on” the suspect. Id.

at 139:6-11. Perez took Miedzianowski to his cousin, who lived near the location of a

recent homicide. Id. at 139:12-14. Miedzianowski, in the presence of Guevara and

Gawrys, paid Perez’s cousin and a friend of his cousin (the two juvenile witnesses) to

make an identification. Id. at 139:15-140:1.

                              Deposition of Philip Cline

      23.       On May 13, 2021, former Chicago Police Commander Philip Cline was

deposed in the Solache and Reyes cases. The transcript of his deposition is attached

as Exhibit 3.

      24.       Among other positions he held within the Chicago Police Department,

Cline was a Commander of Area 5 detectives during the 1990s. Ex. 3 at 15:3-22.

      25.       Cline testified that Miedzianowski, a gang crimes specialist, was

specifically assigned to work with the Area 5 violent crimes detectives, which would

include Detective Guevara. Id. at 92:17-93:1.




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      26.    While he was a Commander at Area 5, Cline brought a complaint

against Officer Miedzianowski. Id. at 89:24-90-12. Cline filed the complaint after

coming to believe that Miedzianowski had taken a General Progress Report from a

homicide file and improperly given it to a defense attorney. Id. at 90:23-91:3; 92:1-16.

      27.    In Cline’s view, Miedzianowski had tampered with a homicide

investigation. Id. at 96:6-13. Cline contacted either the police superintendent or the

Gang Crimes Commander to express that he did not want Miedzianowski working at

Area 5. Id. at 97:22-98:5. As a result, Miedzianowski was banned from Area 5 because

of Cline’s concern that Miedzianowski was tampering with homicide investigations.

Id. at 95:11-22.

                   Deposition of Defendant George Figueroa

      28.    George Figueroa, a defendant in this case, sat for a deposition on June

17, 2021. The transcript of that deposition is attached as Exhibit 4.

      29.    Figueroa testified that he worked alongside Miedzianowski in Gang

Crimes for about 16 years, up until Miedzianowski’s arrest in 1998. Ex. 4 at 333:19-

334:6. Figueroa and Miedzianowski worked together on a small team of seven to ten

gang crimes specialists. Id. at 33:1-16; 35:3-16 (“We worked together on the same

team for many years.”).

      30.    At the time, Figueroa was the main gang crimes officer who focused on

a street gang called the Imperial Gangsters. Id. at 346:16-23. For example, Figueroa

was strictly in charge of Operation Diamond, a narcotics operation targeting the

Imperial Gangsters. Id. at 348:23-349:14.




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      31.    Nevertheless, Figueroa denied knowing before his arrest that

Miedzianowski had been involved in a narcotics enterprise with known Imperial

Gangsters leaders, including Juan Martir and Joseph DeLeon. Id. at 346:16-23; see

also id. at 343:18-346:15.

      32.    Unlike Martir and DeLeon, Plaintiff was a low-level member of the

Imperial Gangsters. Id. at 297:19-298:8.

      33.    Figueroa is not aware of any internal investigation conducted by the

Chicago Police Department to identify any other Gang Crimes officers who were

involved with Miedzianowski’s criminal activity. Id. at 336:20-337:14. After

Miedzianowski’s arrest, at no time did anyone from the Chicago Police Department

ever speak to Figueroa about Miedzianowski or his conduct as a gang crimes officer.

Id. at 336:15-19.

                                     *     *      *

      34.    Plaintiff submits the above-cited evidence to further demonstrate the

connection between Miedzianowski and Defendants Guevara and Figueroa, and the

relevance of the Klipfel discovery to Plaintiff’s individual claims and Monell claims

based on a failure to train, supervise, and discipline gang crimes officers and homicide

detectives. This evidence was not available to Magistrate Judge Weisman when he

reached his decision. 1




      1 Indeed, Judge Weisman declined to consider Mr. Maysonet’s history with Guevara
and Miedzianowski, noting that these events were merely allegations in Mr. Maysonet’s
complaint. Dkt. 231 at 3 n.2. These allegations are now supported by Mr. Maysonet’s sworn
testimony.


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July 5, 2021                           Respectfully submitted,

                                       /s/ John Hazinski
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